                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


In re:                                                             Chapter 7

Kevin R. Karolak and Mary Kristen Karolak,                         Case No. 12-61378

          Debtors.                                                 Hon. Phillip J. Shefferly
                                                 /

Homer W. McClarty, Chapter 7 Trustee of                            Adversary Proceeding
Kevin R. Karolak and Mary Kristen Karolak,                         No. 13-04394-PJS

          Plaintiff,

v.

University Liggett School,

          Defendant.
                                                 /


                          ORDER GRANTING DEFENDANT’S MOTION
                       FOR SUMMARY JUDGMENT, DENYING PLAINTIFF’S
                 MOTION FOR SUMMARY JUDGMENT, AND DISMISSING COMPLAINT


          On September 6, 2013, the Court issued an Opinion Granting Defendant’s Motion for

Summary Judgment, Denying Plaintiff’s Motion for Summary Judgment, and Dismissing Complaint

(“Opinion”) (ECF No. 32). For the reasons set forth in the Opinion, all of which are incorporated

herein,

          IT IS HEREBY ORDERED that the Defendant’s motion for summary judgment (ECF No. 16)

is granted.

          IT IS FURTHER ORDERED that the Plaintiff’s motion for summary judgment (ECF No. 23)

is denied.




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       IT IS FURTHER ORDERED that the Trustee’s complaint is dismissed, and this adversary

proceeding is closed.



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Signed on September 06, 2013
                                                      /s/ Phillip J. Shefferly
                                                    Phillip J. Shefferly
                                                    United States Bankruptcy Judge




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